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                  UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF LOUISIANA


IN RE: OIL SPILL BY                     CIVIL ACTION NO. 10-8888
“DEEPWATER HORIZON”
                                        SECTION J

                                        MAGISTRATE 1


                                    ORDER


Considering the foregoing Motion:

IT IS HEREBY ORDERED that DAVID C. JARRELL is hereby withdrawn as

counsel of record for TAMMANY HOLDING COMPANY, L.L.C.


NEW ORLEANS, LOUISIANA this             day of                      , 2012.



                                    JUDGE
